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     Patrick J. Murphy, WSB No. 5-1779
     Scott C. Murray, WSB No. 7-4896
     WILLIAMS, PORTER, DAY & NEVILLE, PC
     159 N. Wolcott, Ste. 400
     P.O. Box 10700 (82602)
     Casper, WY 82601
     Email: pmurphy@wpdn.net
             smurray@wpdn.net



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF WYOMING

BCB CHEYENNE LLC d/b/a BISON
                                               )
BLOCKCHAIN, a Wyoming limited liability
                                               )
company,
                                               )
                 Plaintiff,                    )
v.                                             )
                                               )
MINEONE WYOMING DATA CENTER                    )
LLC, a Delaware limited liability company;     )
MINEONE PARTNERS LLC, a Delaware               )
limited liability company; TERRA               ) Civil Action No. 23-CV-79-ABJ
CRYPTO, INC., a Delaware corporation;          )
BIT ORIGIN, LTD, a Cayman Island               )
Company; SONICHASH LLC, a Delaware             )
limited liability company; BITMAIN             )
TECHNOLOGIES HOLDING COMPANY,                  )
a Cayman Island Company; BITMAIN               )
TECHNOLOGIES GEORGIA LIMITED, a                )
Georgia corporation; and JOHN DOES 1-18,       )
related persons and companies who control      )
or direct some or all of the named             )
Defendants,                                    )
                 Defendants.                   )


                                  EXHIBIT A
       TO BCB CHEYENNE LLC d/b/a BISON BLOCKCHAIN’S SECOND AMENDED
           SUBPOENA DUCES TECUM TO REPUBLIC TITLE OF TEXAS, INC.
                             IN A CIVIL ACTION


          REPUBLIC TITLE OF TEXAS, INC. is commanded to produce copies of the following

documents to Patrick J. Murphy at WILLIAMS, PORTER, DAY & NEVILLE, P.C. at 159 N. Wolcott
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Street, Suite 400, Casper, WY 82601, or by emailing the documents to pmurphy@wpdn.net by

June 7, 2024 at 10:00 a.m., as follows:

                                          DEFINITIONS

1.     "Document" shall have the full meaning ascribed to it in Rule 34 of the Federal Rules of

Civil Procedure and shall include every writing or record of every type and description, including,

but not limited to, agreements, contracts, contract files, correspondence, memoranda, publications,

pamphlets, promotional materials, studies, books, tables, charts, graphs, schedules, e-mails, text

messages, photographs, films, voice recordings, reports, surveys, analyses, journals, ledgers,

telegrams, stenographic or handwritten notes, minutes of meetings, transcripts, financial

statements, purchase orders, vouchers, invoices, bills of sale, bills of lading, credit and billing

statements, checks, manuals, circulars, bulletins, instructions, sketches, diagrams, computer

programs, printouts, punch cards, tabulations, logs, telephone records, desk calendars, diaries,

appointment books, computer data, tapes, and disks; and includes all drafts or copies of every such

writing or record whenever a draft or copy of a document is not an identical copy of the original

or where such draft or copy contains any commentary or notes that do not appear on the original.


2.     "Communications" shall mean all written, oral, telephonic, electronic, e-mail, text, or other

transmittal of words, thoughts, ideas, and images, including, but not limited to, inquiries,

discussions, conversations, negotiations, agreements, understandings, meetings, letters, notes,

telegrams, advertisements, press releases, publicity releases, trade releases, and interviews.The

term "relating to" shall mean directly or indirectly mentioning or describing, comprising,

consisting of, referring to, reflecting on, or being in any way logically or factually connected with

the matter discussed.
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3.      The term “North Range” shall mean of, concerning, or relating in any way to the improved

real property commonly known as 635 Logistics Drive in the City of Cheyenne, Laramie County,

Wyoming 82009 and the related electrical power contracts with Black Hills Energy for the BCIS

power (~45 megawatts) and expansion power (~25 megawatts).


4.      The term “Campstool” shall mean of, concerning, or relating to the real property known

as Lot 1 Block 4 Venture Dr., in the City of Cheyenne, Laramie County, Wyoming 82007 and the

related electrical power contracts with Black Hills Energy for the BCIS power (~30 megawatts)

and expansion power (~30 megawatts).


                                   DOCUMENTS REQUESTED

     1. Produce documents and communications, specifically, any and all wire transfer
        documentation, of any payment(s) CleanSpark, Inc. and/or any of its subsidiaries have
        made from May 8, 2024 to June 7, 2024 1 to the Escrow Holder (Republic Title of Texas,
        Inc.), Defendant MineOne, Defendant Terra Crypto Inc, and/or any of MineOne’s alleged
        creditors relating to North Range and/or Campstool pursuant to the May 8, 2024 Purchase
        and Sale Agreement (“PSA”), the May 29, 2024 Amended and Restated Purchase and Sale
        Agreement (“North Range PSA”) and the May 29, 2024 Campstool Purchase and Sale
        Agreement (“Campstool PSA”), including amendments thereto for all of the
        aforementioned agreements, and any other agreement between CleanSpark, Inc. (or any of
        its subsidiaries) and MineOne Wyoming Data Center LLC relating to North Range and/or
        Campstool.




1
  In the Court’s Order on Plaintiff’s Emergency Motion, the Court relied on what Ms. Colbath, MineOne’s counsel,
represented to the Court when she stated: “There is no emergency present, no money has exchanged hands and no
money will for at least 30 days [from May 17, 2024], and likely longer” [ECF 194 at p. 4].
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   2. Produce documents and communications from May 25, 2024 to present relating to the
       Closing date for (1) the Campstool PSA and (2) the North Range PSA. Please note: this
       request seeks email communications confirming what date (or what anticipated date)
       Closing is scheduled for both the Campstool PSA and the North Range PSA.


Please note: All documents and communication requests under this subpoena are being done so

on an emergency basis ahead of the Evidentiary Hearing scheduled on Friday afternoon June 7,

2024. By our estimation, these requests include no more than 15 documents and email threads, and

maybe as few as five or six, in total. We don’t believe gathering and producing the documents and

communications in the three requests above will take any more than a few hours of time.



On May 31, 2024, CleanSpark’s counsel was provided the Stipulated Protective Order that was

entered in this civil action (on December 6, 2023). All documents and communication requested

and provided under this subpoena are protected and treated as confidential under this civil action’s

Stipulated Protective Order and are being requested prior to the Evidentiary Hearing.



Please send the requested documents and communications via email to pmurphy@wpdn.net

by June 7, 2024 at 10:00 a.m. MDT.




                  [THE REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK.]
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RESPECTFULLY SUBMITTED this 5th day of June 2024.

                                    BCB CHEYENNE LLC d/b/a
                                    BISON BLOCKCHAIN,

                                    Plaintiff



                              By:
                                    Patrick J. Murphy, WSB No. 5-1779
                                    Scott C. Murray, WSB No. 7-4896
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                                    Attorneys for Plaintiff BCB Cheyenne LLC
                                    d/b/a Bison Blockchain
